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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     AVI KLAMMER,                                   Case No. 22-cv-02046-JSW
                                                       Plaintiff,
                                   8
                                                                                        ORDER VACATING CASE
                                                 v.                                     MANAGEMENT CONFERENCE
                                   9
                                         MONDELEZ INTERNATIONAL, INC.,                  Re: Dkt. No. 15
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has received and considered the parties’ joint case management statement. The

                                  14   Court VACATES the case management conference scheduled for July 1, 2022, and it shall

                                  15   reschedule a case management conference when it resolves the pending motion to dismiss.

                                  16          IT IS SO ORDERED.

                                  17   Dated: June 27, 2022

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                                                                                    JEFFREY S. WHITE
                                  19                                                United States District Judge
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